                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Abingdon Division

 KIRA FERGUSON, individually
 and as Executrix of the ESTATE OF WILLIAM
 S. FERGUSON, DECEASED, and SHANNON
 FERGUSON, in her own right,

                     Plaintiffs,                     Civil Action No. 1:23-cv-00032

 v.

 SUSAN DOONAN BLACKWELL,

                                   Defendant,



                          DEFENDANT SUSAN DOONAN
                  BLACKWELL’S REPLY IN SUPPORT OF MOTION
                TO DISMISS FOR LACK OF PERSONAL JURISDICTION

                                         INTRODUCTION

       The Court should dismiss this case because it has neither general nor specific jurisdiction

over Defendant Susan Blackwell (“Blackwell”), a New Hampshire resident. None of the

arguments raised in Plaintiffs’ Opposition Brief [ECF 34] are sufficient to meet Plaintiffs’ burden

of establishing by a preponderance of evidence that this Court has personal jurisdiction over

Blackwell.

       Plaintiffs’ Opposition presents a moving target on the supposed bases for personal

jurisdiction. Plaintiffs have now withdrawn their meritless argument that Blackwell’s counsel

waived any objection to jurisdiction. See ECF 34 at p. 2. Plaintiffs have added a new, equally

deficient argument, predicating personal jurisdiction on the administration of a trust in Virginia.

Id. While Plaintiffs purport to maintain three other previously raised arguments for jurisdiction,
Plaintiffs’ Opposition Brief argues only one (tortious conduct in Virginia) and waives the other

two (conducting business and owning property in Virginia).1 See ECF 34 at p. 1.

        Plaintiffs’ reliance on Va. Code § 64.2-711, which provides for jurisdiction over claims

relating to the administration of trusts, is misplaced. That statute does not apply here. This is not a

case about a trust; it is a wrongful death claim that relies on an alleged violation of Virginia’s anti-

assisted suicide statute.

        Likewise, Blackwell did not engage in any tortious activity in Virginia, much less activity

that was intentionally directed at Virginia or so pervasive as to satisfy the purposeful availment

and minimum contacts requirements. At most, Plaintiffs (falsely) allege that Blackwell verbally

encouraged her stepfather to commit suicide. Virginia does not recognize a tort for encouraging

suicide unless the defendant provides the physical means to commit suicide. Plaintiffs assertion in

their Opposition Brief that Mr. Ferguson did not commit suicide is contradicted by every relevant

document – including the autopsy report, the police report, and Plaintiffs’ Amended Complaint.

        Plaintiffs’ kitchen-sink approach to identifying possible and ever changing bases for

jurisdiction does not alter the unavoidable conclusion that this Court does not have personal

jurisdiction over Defendant Blackwell.

                                            ARGUMENT

I.      This Is Not a Case Involving a Trust.

        Plaintiffs assert for the first time that the Court has jurisdiction over Blackwell pursuant to

Va. Code § 64.2-711. That statute provides that “the courts of the Commonwealth” have



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  Blackwell has previously explained that both of these supposed bases for jurisdiction fail.
Blackwell does not own any Property in Virginia and any indirect interest she does possess arose
after the claims alleged in the Amended Complaint, such that the claims do not (and could not)
arise out of her de minimis connections to Virginia. See Blackwell’s Second Motion to Dismiss at
pp. 2-3, 9, at 15 [ECF 32]; Blackwell’s Reply in support of First Motion to Dismiss at pp. 2-3
[ECF 23].

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jurisdiction over “the beneficiaries of a trust having its principal place of administration in the

Commonwealth” with regard to “matter[s] involving the trust.” Id. This argument fails at every

level.

         First, this is not a case about a trust. It is a case about wrongful death and, specifically,

whether Blackwell caused her stepfather’s death. There is a case about the administration of the

probate estate already pending in Virginia state court captioned Susan Doonan Bielski and Sandra

B. Doonan v. Kira Ferguson, Executrix for the Estate of William Sandrel Ferguson, Wythe County

Circuit Court Civil Case No. CWF21-240-00 (“the Probate Matter”). This case purports to be about

whether Blackwell is liable for tortiously causing her stepfather’s suicide; questions about the

administration of Mr. Ferguson’s estate are reserved to the Probate Matter.

         Regardless, Va. Code § 64.2-711 does not apply because this case (like the Probate Matter)

involves a will, not a trust. Plaintiffs attempt to skirt this by arguing that in this context, “trust”

includes “probate estate,” citing Va. Code § 64.2-1632. That argument fails. The definition that

Plaintiffs rely upon comes from the Uniform Power of Attorney Act. That Act – and therefore the

statutory definitions cited by Plaintiffs – are not at issue here. Va. Code § 64.2-711 applies the

definitions set forth in Virginia Code § 64.2-701 (which uses the normal definition of trust as

distinct from a probate estate), not Va. Code § 64.2-1632 (which conflates trusts and probate

estates).2

         Accordingly, the Court does not have personal jurisdiction over Blackwell pursuant to Va.

Code § 64.2-711.




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  Although the Court need not reach the issue – because the statute cited by Plaintiffs does not
apply – that statute only provides “courts of the commonwealth” with jurisdiction. It does not
provide federal courts with jurisdiction. For good reason: probate is traditionally a function of state
law.

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II.     Blackwell Did Not Engage in Tortious Activity in Virginia.

        Plaintiffs suggest that the Court has personal jurisdiction over Blackwell because she is

criminally and civilly culpable for elder abuse. Notably, Plaintiffs did not assert any claim based

on elder abuse in the First Amended Complaint. See ECF 31. The reason, of course, is that there

is no basis for such a claim. In any event, Plaintiffs cannot use this unsupported and unpled claim

as the basis for meeting their burden of proof on the question of jurisdiction.

        Tacitly admitting that they cannot identify any tortious actions by Blackwell, Plaintiffs

argue that tortious actions are unnecessary because an omission can give rise to a tort. In some

instances, this is true. It is not true here. Plaintiffs rely upon the assisted suicide statute, Va. Code

§ 8.01-622.1(a); Am. Compl. ¶ 77. That statute requires Plaintiffs to plead (and later prove) that

Blackwell provided the “physical means” or “participate[]d in a physical act by which another

person commits or attempts to commit suicide” (such as providing the decedent with a fatal dose

of medication). Words alone are insufficient, absent some affirmative action to provide the

physical means of suicide.3

        Plaintiffs attempt to get around this by arguing that Blackwell assumed a duty to care for

her stepfather who was of unsound mind. There is no evidence Mr. Ferguson was of unsound mind.

Plaintiffs have not provided any medical record showing that a doctor – someone actually qualified

to make a conclusion about Mr. Ferguson’s mental capacity – declared him of unsound mind. The

evidence suggests that Mr. Ferguson was of sound mind and that Kira Ferguson believed him

capable of making his own medical decisions. See, e.g., Blackwell Ex. A. Text Messages at p. 3

(“he isn’t ready to let go”), (“he wants to drive his new car and we all want him to drive it next


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   Additionally, Plaintiffs’ allegations are implausible and contradicted by Plaintiffs’ own
contemporaneous communications. No reasonable person would believe that Blackwell and Mr.
Ferguson’s morning spent spreading Dr. Doonan’s ashes as they collectively mourned her death
is somehow evidence of nefarious intent. Plaintiffs’ claims are predicated on the Court drawing
that unreasonable inference.

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year”); (“he is ready and willing to have surgery”), p. 6 (“he still has so much life to live”).

Plaintiffs must present evidence that Mr. Ferguson was of unsound mind before they can establish

a duty. Absent a duty, Plaintiffs cannot plead a tort claim. Because Plaintiffs have not established

that Blackwell owed Mr. Ferguson a duty of care, Plaintiffs have not met their burden of

establishing personal jurisdiction.

       But Plaintiffs also acknowledge that even if Blackwell had a duty, that duty only required

her to act reasonably. It did not require her to become an insurer of her stepfather’s safety. Here,

Plaintiffs suggest Blackwell breached the duty by not taking away her stepfather’s guns and

committing him to a medical institution against his will. Blackwell was not obligated to do either.4

Indeed, absent a medical determination about his mental capacity and a judicial determination that

he was incompetent, Blackwell was prohibited from either taking away his guns (amounting to

theft) or admitting him into medical institution against his will (which could be construed as

kidnapping). Because the conduct Plaintiffs contend Blackwell was required to engage in is

criminal, it is per se unreasonable to insist that these alleged omissions amount to a breach of an

alleged duty Blackwell owed to Mr. Ferguson.

       Finally, Plaintiffs still must show purposeful availment and minimum contacts. The

pleadings and the evidence show that Blackwell came to Virginia for one extremely specific

purpose: to transport her stepfather to Philadelphia to consult with a physician about a risky

medical intervention. Blackwell did not come to Virginia to purposefully engage in any activity

here. She came here for the purpose of taking her stepfather out of Virginia.

       This singular trip is not sufficient to establish minimum contacts necessary for this Court

to exert authority over a non-resident of Virginia. See, e.g., Le Bleu Corp. v. Standard Capital



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  Notably, Plaintiffs also did not remove Mr. Ferguson’s guns or have him committed to a medical
institution, despite their apparent belief that these actions were necessary.

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Grp., Inc., 11 Fed. Appx. 377, 380-81 (4th Cir. 2001) (upholding the district courts finding that

"some mail and telephone calls" between the parties, two visits to the forum state by defendant's

employees, and the fact that payment on the contract was mailed from North Carolina, were

insufficient to establish purposeful availment). If two visits by a corporate defendant are

insufficient to establish “minimum contacts,” it is unreasonable for the Court to conclude here that

a single visit by an individual defendant has purposefully availed herself of this jurisdiction.

Outside of the four-day visit with Mr. Ferguson, Blackwell does not have any meaningful contact

with Virginia and never “expressly targeted” Virginia. GMS Indus. Supply, Inc. v. G&S Supply,

LLC, No. 2:19cv324, 2019 U.S. Dist. LEXIS 225093, at *28 (E.D. Va. Nov. 14, 2019) (finding

that the “mere fact that the [plaintiff] was injured [in Virginia] is an insufficient predicate for

jurisdiction”).

III.    Mr. Ferguson Committed Suicide.

        Plaintiffs assert that Mr. Ferguson did not commit suicide. See Plaintiffs’ Opp. at p. 11.

This is false. The Chief Medical Examiner performed an autopsy and determined that the cause of

death was suicide. See Autopsy Report at p. 4, attached as Blackwell Ex. B. This is also confirmed

by the police report. See Police Report at pp. 9-10, attached as Blackwell Ex. C. Plaintiffs

themselves have admitted that Mr. Ferguson committed suicide. See Am. Compl. ¶ 10 (“Defendant

stayed with Decedent William Ferguson in the family home in Virginia for four (4) days

immediately prior to his suicide”) (emphasis added).

        While ultimately irrelevant to the matter of jurisdiction, the police report also contradicts

Plaintiffs’ averment that Blackwell did not call 911. Cf. Police Report at p. 6 (“at approximately

09:37 hours [], Wythe County Central Dispatch received a 9-1-1 call from Bielski, Sue”) with

Plaintiffs’ Opp. at p. 10 (“[Blackwell] calls no one….The neighbor calls 911 then rushes to the

house to try to stop Mr. Ferguson’s bleeding”). Kira Ferguson’s grief may prevent her from


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acknowledging what was evident to the police and the medical examiner, but this Court should not

allow Plaintiffs’ counsel’s creative pleading to deny the actual cause of Mr. Ferguson’s death.



IV.    Plaintiffs Cannot Meet Their Burden of Proof

       Plaintiffs admit that the “jurisdictional question raised is one for the judge, with the burden

on the plaintiff ultimately to prove grounds for jurisdiction by a preponderance of the evidence”

Opp at p. 6. However, Plaintiffs suggest that they do not need to be able to meet this burden at this

stage. This is incorrect. Courts require plaintiff to establish jurisdiction by a preponderance of the

evidence, “when the parties conduct jurisdictional discovery and are given the opportunity to

present all relevant evidence and argument to the court regarding personal jurisdiction.” James v.

Subaru of Am., Inc., 433 F. Supp. 3d 933, 938 (W.D. Va. 2020). Here, Plaintiffs have not requested

the opportunity to conduct jurisdictional discovery because there is no need. Blackwell has

presented the necessary evidence to show that there is no basis for personal jurisdiction; Plaintiffs

have not presented any contradictory evidence, despite having the opportunity to do so. Therefore,

“the plaintiff should be held to the higher preponderance-of-the-evidence standard[,]” not a prima

facie standard. Id. Although, “[w]hichever standard is applied, [the Court’s] conclusion [sh]ould

be the same.” Id.


                                          CONCLUSION

       WHEREFORE, for the foregoing reasons, Blackwell respectfully requests this Honorable

Court grant this motion to dismiss and dismiss the Amended Complaint against her with prejudice

and grant such other and further relief as this Court deems just and proper.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of May, 2024 a true and accurate copy of the foregoing

Reply in Support of Motion to Dismiss for Lack of Personal Jurisdiction was filed electronically

on the Western District of Virginia Document Filing System (CM/ECF), served by electronic mail

(PDF attachment) and by U.S. mail, postage prepaid, to counsel for plaintiffs and served upon all

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